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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IN RE: DEALER MANAGEMENT                            MDL No. 2817
 SYSTEMS ANTITRUST LITIGATION                        Case No. 18-cv-00864

 This Document Relates To:                           Hon. Robert M. Dow, Jr.
                                                     Magistrate Judge Jeffrey T. Gilbert
 Authenticom, Inc. v. CDK Global, LLC, et al.,
 Case No. 1:18-cv-00868 (N.D. Ill.)

 Motor Vehicle Software Corp. v. CDK Global,
 LLC, et al., Case No. 1:18-cv-00865 (N.D. Ill.)



            PLAINTIFFS AUTHENTICOM’S AND MVSC’S RESPONSE TO
            DBW PARTNERS, LLC MOTION FOR LEAVE TO INTERVENE

       Plaintiffs Authenticom, Inc. and Motor Vehicle Software Corporation take no position on

DBW Partners, LLC’s motion for leave to intervene.



Dated: June 1, 2021                                /s/ Derek T. Ho
                                                   Derek T. Ho
                                                   Michael N. Nemelka
                                                   Aaron M. Panner
                                                   Daniel V. Dorris
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                                                   Motor Vehicle Software Corporation
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                                 CERTIFICATE OF SERVICE

        I, Derek T. Ho, an attorney, hereby certify that on June 1, 2021, I caused a true and correct
copy of the foregoing PLAINTIFFS AUTHENTICOM’S AND MVSC’S RESPONSE TO
DBW PARTNERS, LLC MOTION FOR LEAVE TO INTERVENE to be filed and served
electronically via the Court’s CM/ECF system. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF system.


                                                      /s/ Derek T. Ho
                                                      Derek T. Ho
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